Case 2:21-cv-00508-LMA-KWR Document 1-2 Filed 03/11/21 Page 1 of 10

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09/23/20

https://www.mylcmchealth.org
Activation code: XP2BJ-8FP53-5QRCG

Guarantor Information: Guarantor ID: 1455784

Lillian J Henderson

Patient Information:
Patient: Henderson,Lillian J

Patient Account: aaa»

Location of Service: West Jefferson Medical Center - Internal Medicine

09/06/20
09/11/20

Admission Date:
Discharge Date:

Patient Responsibility

Total Charges Roy ey ech dat Tans aol Ce lea)

$23,121.50

 

 

Hospital Charges

 

 

 

 

 

 

 

 

Date Rev Code Procedure oye elon ered) Qty Amatnt
Code
09/06/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 5-325 MG TAB (0406- 1 3.00
0123-62)
09/06/20 0324 32400001 X-RAY OF CHEST, 1 VIEW, FRONT 1 378.00
09/06/20 0320 32000061 X-RAY OF PELVIS, 1 OR 2 VIEWS j 437.00
09/06/20 0320 32000087 X-RAY OF HIP WITH PELVIS, 2-3 VIEWS 1 429.00
09/06/20 0351 35100002 CT SCAN HEAD OR BRAIN 1 2,431.00
09/06/20 0637 6370001 OXYCODONE-ACETAMINOPHEN 5-325 MG TAB (0406-0512- 1 5.00
62)
09/06/20 0352 35200015 CT SCAN PELVIS 1 2,186.00
09/06/20 0306 30600560 1A DNA SARS-COV-2 COVID-19 AMPLIFIED PROBE TQ 1 275.00
09/06/20 0260 26000008 INJECTION BENEATH SKIN OR INTO MUSCLE FOR THERAPY 1 195.00
DIAGNOSIS OR PREVENTION
09/06/20 0450 45000508 ED VISIT, LVL 5 1 2,137.00
09/06/20 0762 76200001 HOSPITAL OBSERVATION SERVICE 1 30.00
09/06/20 0762 76200001 HOSPITAL OBSERVATION SERVICE 1 90.00
09/06/20 0637 6370001 LISINOPRIL 10 MG TAB (68180-980-01 ) 1 1.75
09/06/20 0762 32000245 RADIOLOGY DIAGNOSTIC RADIOLOGY — REVENUE CODE ~1 -90.00
32x
09/06/20 0762 35000017 CT — REVENUE CODE 35x 1 90.00
09/06/20 0637 6370001 MELATONIN 5 MG TAB (50268-53311) 1 1.75
09/06/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 400
418-11) _ —
EXHIBIT

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Case 2:21-cv-00508-LMA-KWR Document 1-2 Filed 03/11/21 Page 2 of 10

  

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Procedure
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Description

HEPARIN (PORCINE) 5.000 UNIT/ML SOLN (63739-953-1 1)
ULTRASOUND MEASUREMENT OF BLADDER CAPACITY
AFTER VOIDING

BLOOD DRAW VENIPUNCTURE

BLOOD TEST, COMPREHENSIVE GROUP OF BLOOD
CHEMICALS

COMPLETE BLOOD CELL COUNT AUTOMATED TEST
X-RAY OF SHOULDER, MINIMUM OF 2 VIEWS
EVALUATION OF PHYSICAL THERAPY TYPICALLY 20
MINUTES

WALKING TRAINING TO + OR MORE AREAS, EACH 15
MINUTES

EVALUATION OF OCCUPATIONAL THERAPY TYPICALLY 45
MINUTES

HOSPITAL OBSERVATION SERVICE

ASPIRIN 325 MG TAB (66553-001-01)

PANTOPRAZOLE 40 MG TBEC (66993-068-80)

LISINOPRIL 5 MG TAB (68084-196-01)

LISINOPRIL 5 MG TAB (68084-196-01)

CITALOPRAM 20 MG TAB (0904-6085-61)

ATORVASTATIN 40 MG TAB (51079-210-01)

RADIOLOGY DIAGNOSTIC RADIOLOGY - REVENUE CODE
32K

PHYSICAL THERAPY — REVENUE CODE 42X
OCCUPATIONAL THERAPY — REVENUE CODE 43X
MELATONIN 5 MG TAB (50268-53311}
HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (0406-
0125-62)

HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687-
418-11)

HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687-
418-11)

HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (63739-953-11)
HEPARIN (PORCINL) 5.000 UNIT/ML SOLN (63739 963 11)
HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (63739-953-11)
SELF-CARE OR HOME MANAGEMENT TRAINING, EACH 15
MINUTES

BLOOD DRAW VENIPUNCTURE

BLOOD TEST, BASIC GROUP OF BLOOD CHEMICALS
WALKING TRAINING TO 1 OR MORE AREAS, EACH 15
MINUTES

THERAPEUTIC ACTIVITIES TO IMPROVE FUNCTION EACH 15
MINUTES

HOSPITAL OBSERVATION SERVICE

ASPIRIN 325 MG TAB (66553-001-01)

PANTOPRAZOLE 40 MG TBECG (66993-068-80)

LISINOPRIL 5 MG TAB (68084-196-01)

 

LISINOPRIL 5 MG TAB (68084-196-01)
CITALOPRAM 20 MG TAB (0904-6085-61)

PHYSICAL THERAPY - REVENUE CODE 42X
OCCUPATIONAL THERAPY — REVENUE CODE 43X
ATORVASTATIN 40 MG TAB (0904-6292-61}

MELATONIN 5 MG TAB (50268-53311)
HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687-
418-11)

HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687-
418-11)

HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687-
418-11)

HEPARIN (PORCINE) 5 000 UNIT/ML SOLN (0409-2723-01)
HEPARIN (PORCINE) 5.000 UNIT/ML SOLN (0409-2723-01)
HEPARIN (PORCINE) 5.000 UNII/ML SOLN (0409-2723-0'1)
POLYETHYLENE GLYCOL 17 GRAM PWPK (69784-180-01)

 

HEPARIN (PORCINE) 5.000 UNIT/ML SOLN (67457-374-12)

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Case 2:21-cv-00508-LMA-KWR Document 1-2 Filed 03/11/21 Page 3 of 10

DFT Rev Code Procedure Description Oh Amount
Code

09/09/20 0637 6370001 TRAMADOL 50 MG TAB (51079-991 -20) 1 3.00

09/09/20 0430 42000047. |SELF-CARE OR HOME MANAGEMENT TRAINING, EACH 15 1 147.00
MINUTES

09/69/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 4.00
418-11)

09/09/20 0637 6370001 DIAZEPAM 2 MG TAB (51079-284-20) 1 1.00

09/09/20 0637 6370001 MELATONIN 5 MG TAB (50268-5331 1) 1 1.75

09/09/20 0637 6370001 LISINOPRIL 5 MG TAB (68084-196-01) 1 3.25

09/09/20 0636 J1644 HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (67457-374-12) 5 11.00

09/09/20 0300 30000030 |BLOOD DRAW VENIPUNCTURE 1 31.00

09/09/20 0301 30100002 |BLOOD TEST, BASIC GROUP OF BLOOD CHEMICALS 1 298 00

09/69/20 0420 42000044. |WALKING TRAINING TO 1 OR MORE AREAS, EACH 15 1 155.00
MINUTES

09/09/20 0420 42000044 |THERAPEUTIC ACTIVITIES TO IMPROVE FUNCTION EACH 15 4 151.00
MINUTES

09/09/20 0762 76200001 HOSPITAL OBSERVATION SERVICE 24 2,160.00

09/09/20 0637 6370001 ASPIRIN 325 MG TAB (66553-00101) 1 0,25

09/09/20 0637 6370001 PANTOPRAZOLE 40 MG TBEC (66993-068-80) 1 14.50

09/09/20 0637 6370001 LISINOPRIL 5 MG TAB (68084-196-01) 1 3.25

09/09/20 0637 6370001 CITALOPRAM 20 MG TAB (0904-6085-61) 1 9.50

09/09/20 0762 42000127 |PHYSICAL THERAPY — REVENUE CODE 42X -1 -80.00

09/09/20 0762 43000121 jOCCUPATIONAL THERAPY — REVENUE CODE 43X -1 -90.00

09/09/20 0637 6370001 ATORVASTATIN 40 MG TAB (51079-210-01) 2 3.75

09/09/20 0637 6370001 HY¥DROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 4.00
418-11)

09/09/20 0637 6370001 POLYETHYLENE GLYCOL 17 GRAM PWPK (69784-180-01) 1 6.75

09/09/20 0250 2500003 SODIUM POLYSTYRENE SULF-SORBTL 15-20 GRAM/60 ML 1 76.75
SUSP (46287-006-60)

09/09/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 4.00
418-11)

09/09/20 0636 J1644 HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (63323-262-55) 5 5.75

09/09/20 0637 6370001 TRAMADOL 50 MG TAB (51079-991-20) 1 3.00

09/10/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 4.00
418-11)

09/10/20 0300 30000030 |BLOOD DRAW VENIPUNCTURE 1 31,00

09/10/20 0301 30100002 |BLOOD TEST, BASIC GROUP OF BLOOD CHEMICALS 1 298.00

09/10/20 0636 J1644 HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (67457-374-12) 5 11.00

09/1 0/20 0637 6370001 POLYETHYLENE GLYCOL 17 GRAM PWPK (69784-180-01) 1 6.75

09/10/20 0637 6370001 ASPIRIN 325 MG TAB (66553-001-01) 1 0.25

09/10/20 0637 6370001 PANTOPRAZOLE 40 MG TBEC (66993-068-80} 1 14.50

09/1 0/20 0637 6370001 CITALOPRAM 20 MG TAB (0904-6085-61) 1 9,50

09/10/20 0637 6370001 TRAMADOL 50 MG TAB (51079-991-20} 1 3.00

09/10/20 0420 42000041 |WALKING TRAINING TO 1 OR MORE AREAS, EACH 15 1 155.00
MINUTES

09/10/20 0420 42000044 |THERAPEUTIC ACTIVITIES TO IMPROVE FUNCTION EACH 15 1 151.00
MINUTES

09/1 0/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 4.00
418-11}

08/10/20 0636 J1644 HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (67457-374-12} 5 11.00

09/10/20 0430 42000047 = |SELF-CARE OR HOME MANAGEMENT TRAINING, EACH 15 t 147,00
MINUTES

09/10/20 0637 6370001 DIAZEPAM 2 MG TAB (51079-284-20) 1 1,00

09/10/20 0637 6370001 MELATONIN 5 MG TAB (50268-53311) 1 1.75

09/40/20 0636 J1644 HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (67457-374-12) 5 11.00

09/10/20 0637 6370001 TRAMADOL 50 MG TAB (51079-991-20) 1 3,00

09/10/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 4.00
418-11)

09/10/20 0762 76200001 HOSPITAL OBSERVATION SERVICE 24 2,160.00

09/10/20 0762 42000127 =|PHYSICAL THERAPY — REVENUE CODE 42X -1 -90,00

09/10/20 0762 43000121 |OCCUPATIONAL THERAPY — REVENUE CODE 43X -4 -90.00

09/11/20 0636 J1644 HEPARIN (PORCINE) 5,000 UNIT/ML SOLN (0409-2723-01) 5 8,50

09/1 1/20 0637 6370001 HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687- 1 4.00
418-11)

09/1 1/20 0637 6370001 ASPIRIN 325 MG TAB (66553-001-01) _. | j 0.25

 

 

 

 

 

 

 

 
Case 2:21-cv-00508-LMA-KWR Document 1-2 Filed 03/11/21 Page 4 of 10

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Procedure
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Description

PANTOPRAZOLE 40 MG TBEC (66993-068-80)
CITALOPRAM 20 MG TAB (0904-6085-61)

TRAMADOL 50 MG TAB (51079-991-20)

POLYETHYLENE GLYCOL 17 GRAM PWPK (69784-180-01)
SELF-CARE OR HOME MANAGEMENT TRAINING, EACH 15
MINUTES

WALKING TRAINING TO 1 OR MORE AREAS, EACH 15
MINUTES

THERAPEUTIC ACTIVITIES TO IMPROVE FUNCTION EACH 15
MINUTES

HYDROCODONE-ACETAMINOPHEN 10-325 MG TAB (60687-
418-11)

HOSPITAL OBSERVATION SERVICE

PHYSICAL THERAPY — REVENUE CODE 42X
OCCUPATIONAL THERAPY — REVENUE CODE 43X
Total Charges

 

 

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You may qualify for financial assistance, if you do not have insurance, are underinsured, or if it would be a financial
hardship to pay all out-of-pocket expenses for services provided by LCMC hospitals and providers. Our Financial
Assistance Program provides free or discounted care to patients having difficulty paying their medical bills if eligibility
is met. Contact our Financial Counselors at (504) 702-3500 or go to www.umcno.org/financialassistance for more

details.
Case 2:21-cv-00508-LMA-KWR Document 1-2 Filed 03/11/21 Page 5 of 10

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01/06/21

https://www.mylcmchealth.org

Guarantor Information: Guarantor ID: 1455784
Activation code: XHFQ3-N38CC-BP87A

Lillian J Henderson

WIS ASR AND MEARGWSER
(MARRERO. Lacro0ra-6ai9

Patient Information:
Patient: Henderson,Lillian J Admission Date: 10/13/20

Patient Account (D> Discharge Date: 10/13/20

Lacation of Service: West Jefferson Medical Center Women’s Imaging and Breast Care Center -

Total Charges Biehl er Maas) Total Adjustments Patient Responsibility

$854.00 $-100.96 $-753.04

 

 

Hospital Charges
Rev Code Procedure Description Amount
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10/13/20 0320 32000222 =|BONE DENSITY MEASUREMENT USING DEDICATED X-RAY
| MACHINE

 

Hospital Payments and Adjustments

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12/01/20 (Humana Medicare Payments

12/01/20 ‘Humana Medicare Adjustments
|Total Insurance Payments and Adjustments

 

You may qualify for financial assistance, if you do not have insurance, are underinsured, or if it would be a financial
hardship to pay all out-of-pocket expenses for services provided by LCMC hospitals and providers. Our Financial
Assistance Program provides free or discounted care to patients having difficulty paying their medical bills if eligibility
is met. Contact our Financial Counselors at (504) 702-3500 or go to wyav.umncene.crg/financialessistence for more
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Guarantor Information: Guarantor ID: 1455784
Activation code: XHFQ3-N38CC-BP87A

Lillian J Henderson

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MARREROWOATOOTL-Baay

Patient Information:
Patient: Henderson,Lillian J Admission Date: 01/01/21

Patient Account: aaa Discharge Date: 01/01/21

Location of Service: WJMC Emergency Dept -

Total Charges Total Payments Total Adjustments Patient Responsibility

$6,722.50

 

 

Hospital Charges

 

Rev Code Procedure Deseription Amount
Code
01/01/21 0301 30100191 |POCT BLOOD GLUCOSE (SUGAR) TEST PERFORMED BY 1 22.00
| HAND-HELD INSTRUMENT

01/01/21 0320 | 32000061 X-RAY OF PELVIS, 1 OR 2 VIEWS 1 493.00
01/01/21 0320 32000074 X-RAY OF SHOULDER, MINIMUM OF 2 VIEWS 1 561.00
01/01/21 0352 35200005 CT SCAN OF UPPER SPINE 1 2,902.00
01/01/21 0351 35100002 CT SCAN HEAD OR BRAIN 1 2,741,00
01/01/21 0636 J1100 DEXAMETHASONE 4 MG/ML SOLN (67457-423-12) 4 3.50
Total Charges _ 6,722.50

 

You may qualify for financial assistance, if you do not have insurance, are underinsured, or if it would be a financial
hardship to pay all out-of-pocket expenses for services provided by LCMC hospitals and providers. Our Financial
Assistance Program provides free or discounted care to patients having difficulty paying their medical bills if eligibility
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billing phone: (504) 378-9304
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Case 2:21-cv-00508-LMA-KWR_ Document 1-2 Filed 03/11/21 Page 8 of 10

 

 

 

 

        

  
  

 

 

   

 

 

 

 

 

 

  

 

 

 

 

 

 
 

 

 

 

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“TOTAL CHARGE OUTSTANDING AS OF 01/06/2021! $0.00 $0.00. Ba
